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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
   Civil Action No. 1:13-cv-02707-WYD-MEH

   MALIBU MEDIA, LLC,

         Plaintiff,
   v.

   JOHN BUTLER,

        Defendant.
   _________________________________/

                  ORDER GRANTING PLAINTIFF’S MOTION FOR LEAVE
                  TO APPEAR TELEPHONICALLY AT THE SETTLEMENT
                    CONFERENCE SCHEDULED FOR APRIL 23, 2014

         THIS CAUSE came before the Court upon Plaintiff’s Motion for Leave to Appear

   Telephonically at the Settlement Conference Scheduled For April 23, 2014 (the

   “Motion”), and the Court being duly advised in the premises does hereby:

         ORDER AND ADJUDGE:             Plaintiff’s Motion is granted. Plaintiff may appear

   telephonically at the settlement conference scheduled for April 23, 2014 at 9:30 AM.

         DONE AND ORDERED this ___ day of ________________, 2014.



                                    By: ____________________________________
                                          UNITED STATES DISTRICT JUDGE
